Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
04/10/2020 12:08 AM CDT




                                                          - 868 -
                               Nebraska Supreme Court Advance Sheets
                                        304 Nebraska Reports
                                              IN RE INTEREST OF ZOIE H.
                                                   Cite as 304 Neb. 868



                                        In re Interest of Zoie H., a child
                                              under 18 years of age.
                                          State of Nebraska, appellee,
                                               v. Zoie H. appellant.
                                                      ___ N.W.2d ___

                                          Filed January 24, 2020.   No. S-18-1028.

                 1. Juvenile Courts: Appeal and Error. An appellate court reviews juve-
                    nile cases de novo on the record, and reaches its conclusions indepen-
                    dently of the juvenile court’s findings.
                 2. Statutes: Appeal and Error. Statutory interpretation is a question of
                    law, which an appellate court resolves independently of the trial court.
                 3. Constitutional Law: Appeal and Error. The review of constitutional
                    standards is a question of law and is reviewed independently of the trial
                    court’s determination.
                 4. Constitutional Law: Statutes: Waiver. The proper procedure for rais-
                    ing a facial constitutional challenge to a criminal statute is to file a
                    motion to quash, and all defects not raised in a motion to quash are
                    taken as waived by a defendant pleading the general issue.
                 5. Constitutional Law: Convictions: Statutes. A defendant is prohibited
                    from attempting to circumvent or avoid conviction under a particular
                    statute by asserting a constitutional challenge to another, collateral stat-
                    ute which is irrelevant to the prosecution.
                 6. Criminal Law: Jury Trials. When considering a criminal defendant’s
                    right to a jury trial, it is well established that the right does not extend
                    to those criminal offenses categorized as petty but attaches only to those
                    crimes that are considered serious offenses.
                 7. Jury Trials: Sentences: Time: Legislature. The right to a jury trial
                    attaches when the potential term of incarceration exceeds 6 months or if
                    the additional statutory penalties, viewed in conjunction with the maxi-
                    mum authorized period of incarceration, are so severe that they clearly
                    reflect a legislative determination that the offense in question is a seri-
                    ous one.
                                  - 869 -
           Nebraska Supreme Court Advance Sheets
                    304 Nebraska Reports
                       IN RE INTEREST OF ZOIE H.
                            Cite as 304 Neb. 868
 8. Juvenile Courts. Juvenile adjudications are civil, not criminal, in
    nature.
 9. Juvenile Courts: Weapons. The prohibition on possessing firearms
    in Neb. Rev. Stat. § 28-1204.05 (Cum. Supp. 2018) is not punishment
    imposed for a prior juvenile adjudication.
10. Constitutional Law: Juvenile Courts: Jury Trials. A juvenile court
    proceeding is a civil proceeding, and under the doctrine of parens
    patriae, the constitutional guarantees of a jury trial and the incidents
    thereto are not applicable to a juvenile proceeding.
11. Criminal Law: Evidence. The owner of chattel may testify as to its
    value in a criminal case.

  Appeal from the Separate Juvenile Court of Lancaster
County: Roger J. Heideman, Judge. Affirmed.
   Joe Nigro, Lancaster County Public Defender, James G.
Sieben, and Mark D. Carraher for appellant.
  Patrick F. Condon, Lancaster County Attorney, Mary Norrie,
and Elise Harris, Senior Certified Law Student, for appellee.
  Heavican, Miller-Lerman, Cassel, Stacy, Funke, Papik,
and Freudenberg, JJ.
   Stacy, J.
   Zoie H. appeals from an order of the separate juvenile
court adjudicating her pursuant to Neb. Rev. Stat. § 43-247(2)
(Reissue 2016) for the act of attempted theft by unlawful tak-
ing, $5,000 or more. We affirm.
                       I. BACKGROUND
   On the afternoon of September 25, 2018, Heidi Cuca was
fueling her Lexus at a convenience store in Lincoln, Nebraska.
While standing outside the Lexus, Cuca observed two young
females had entered her vehicle and were seated inside—one
in the driver’s seat and the other in the backseat. The female in
the driver’s seat was later determined to be Zoie.
   It appeared to Cuca that Zoie was trying to start the Lexus,
but was having trouble getting the engine to turn over. Cuca
heard the female in the back seat shout, “‘Zoie let’s go.’” So
                                 - 870 -
            Nebraska Supreme Court Advance Sheets
                     304 Nebraska Reports
                      IN RE INTEREST OF ZOIE H.
                           Cite as 304 Neb. 868
Cuca attempted to retrieve the Lexus keys from inside the
vehicle and throw them. An altercation ensued, during which
Zoie shouted, “‘Don’t, let me go. I’m going to take it.’” The
convenience store manager heard Cuca yelling for help and
called the 911 emergency dispatch service.
   Zoie escaped before police arrived, but someone was able
to grab Zoie’s arm and hold her long enough for Cuca to take
a photograph. Cuca provided the photograph to police, who
eventually located Zoie and contacted her at school a few
days later.
   Sgt. Mike Ripley, an officer with the Lincoln Police
Department, met with Zoie and her father to conduct a fol-
lowup investigation. Zoie waived her Miranda rights and
agreed to an interview. Zoie admitted she made plans to steal
the Lexus, explaining she “‘just felt like taking the car.’” Zoie
described how she and a friend entered the Lexus from the
passenger side while Cuca was fueling up on the other side.
Zoie also described the altercation that ensued and how she
eventually escaped.
                1. Juvenile Court Proceedings
   On October 16, 2018, the State filed an amended supple-
mental petition in the separate juvenile court of Lancaster
County. It alleged that on or about September 25, 2018, Zoie
intentionally engaged in conduct which, under the circum-
stances as she believed them to be, constituted a substantial
step in a course of conduct intended to culminate in her com-
mission of the crime of theft by unlawful taking in the amount
of $5,000 or more. Attempted theft by unlawful taking is a
Class IIIA felony when the value of the thing involved is
$5,000 or more.1
   Zoie filed a motion to quash the amended supplemental
petition. Alternatively, she filed a demand for jury trial. Both
requests were premised on the enactment of Neb. Rev. Stat.

1
    See Neb. Rev. Stat. §§ 28-20l(4)(c), 28-511, and 28-518(1) (Reissue
    2016).
                                  - 871 -
            Nebraska Supreme Court Advance Sheets
                     304 Nebraska Reports
                       IN RE INTEREST OF ZOIE H.
                            Cite as 304 Neb. 868
§ 28-1204.05 (Cum. Supp. 2018), which went into effect on
July 19, 2018, and provides in pertinent part:
         (1) . . . [A] person under the age of twenty-five
      years who knowingly possesses a firearm commits the
      offense of possession of a firearm by a prohibited juvenile
      offender if he or she has previously been adjudicated an
      offender in juvenile court for an act which would consti-
      tute a felony or an act which would constitute a misde-
      meanor crime of domestic violence.
         (2) Possession of a firearm by a prohibited juvenile
      offender is a Class IV felony for a first offense and a
      Class IIIA felony for a second or subsequent offense.
   Other portions of the statute exempt members of the armed
forces and law enforcement2 and establish a procedure for
those under 25 years of age to request reinstatement of the
right to possess a firearm.3 Zoie was not charged with vio-
lating § 28-1204.05, but her motion to quash alleged that
adjudication for theft by unlawful taking over $5,000 “would
subject [her] to criminal prosecution under an unconstitutional
statute, Neb. Rev. Stat. § 28-1204.05 (Cum. Supp. 2018).”
Zoie’s demand for a jury trial was also premised on the
enactment of § 28-1204.05. Generally speaking, she argued
that the statute’s restriction on firearm possession amounted
to a penalty for being adjudicated and thereby rendered the
adjudication proceedings a “serious criminal case” entitling
her to a jury trial pursuant to Duncan v. Louisiana 4 and State
v. Wiltshire.5
   After holding a hearing, the juvenile court overruled the
motion to quash, finding there was no defect on the face of

2
    See § 28-1204.05(3).
3
    See § 28-1204.05(4).
4
    Duncan v. Louisiana, 391 U.S. 145, 88 S. Ct. 1444, 20 L. Ed. 2d 491    (1968).
5
    State v. Wiltshire, 241 Neb. 817, 491 N.W.2d 324 (1992), overruled on
    other grounds, State v. Louthan, 257 Neb. 174, 595 N.W.2d 917 (1999).
                             - 872 -
         Nebraska Supreme Court Advance Sheets
                  304 Nebraska Reports
                   IN RE INTEREST OF ZOIE H.
                        Cite as 304 Neb. 868
the amended supplemental petition. The juvenile court denied
the demand for jury trial, reasoning that Neb. Rev. Stat.
§ 43-279(1) (Reissue 2016) requires the adjudication portion of
juvenile court proceedings “shall be conducted before the court
without a jury, applying the customary rules of evidence in use
in trials without a jury.” The matter proceeded to an adjudica-
tion hearing on the amended supplemental petition.
                  2. Adjudication Hearing
   At the adjudication hearing, the State called three witnesses:
Cuca, the convenience store manager, and Sergeant Ripley.
Cuca described the events of September 25, 2018, as set out
above, and identified Zoie as the female who attempted to steal
the Lexus. The manager largely confirmed Cuca’s testimony,
and she too identified Zoie as the female who attempted to
steal the Lexus. Sergeant Ripley testified about his interview
with Zoie, including that she received Miranda warnings prior
to the interview.
   Both Cuca and Sergeant Ripley offered testimony about the
value of the Lexus. Cuca testified that she purchased the 2012
Lexus RX350 3 years earlier for around $21,000 and that it
currently had 60,000 miles on it. When Cuca was asked her
opinion on the value of the Lexus, Zoie objected to the ques-
tion as speculative. The objection was overruled, and Cuca
answered that according to Kelley Blue Book, the value of
her Lexus with 60,000 miles “is around $21,000 list price.”
There was no motion to strike Cuca’s response and no cross-­
examination on Cuca’s valuation testimony.
   Sergeant Ripley also relied on Kelley Blue Book for his
valuation testimony. He estimated the “average trade in value”
of the Lexus was $15,529. He did not contact Cuca to get
information on the vehicle’s mileage, condition, or accessories.
Instead, he used the value for a “base model” Lexus in “good”
condition with 75,000 miles. When asked on cross-examination
what the value of the Lexus would be if its condition had been
“poor,” Sergeant Ripley estimated it would still be between
$10,000 and $12,000. He testified it was unlikely a 2012
                                  - 873 -
            Nebraska Supreme Court Advance Sheets
                     304 Nebraska Reports
                       IN RE INTEREST OF ZOIE H.
                            Cite as 304 Neb. 868
Lexus in working condition would be worth less than $5,000.
He based his opinion on his experience investigating car thefts
and his research into the value of Cuca’s Lexus. There was
no objection to Sergeant Ripley’s valuation testimony or to
the admission of the Kelley Blue Book printout showing
that valuation.
   Zoie rested without presenting any evidence. In a journal
entry and order filed October 23, 2018, the juvenile court adju-
dicated Zoie on the allegations of the amended supplemental
petition, finding the State proved beyond a reasonable doubt
that Zoie was a juvenile as described in § 43-247(2).
   Zoie timely appealed and filed a petition to bypass that
included a notice of constitutional question under Neb. Ct.
R. App. § 2-109(E) (rev. 2014). We granted the petition
to bypass.
                II. ASSIGNMENTS OF ERROR
   Zoie assigns, restated, that the juvenile court erred by (1)
overruling her motion to quash, (2) denying her demand for
jury trial, and (3) finding she committed the act of attempted
theft by unlawful taking, $5,000 or more, when the State
failed to meet its burden of proof regarding the value of
the vehicle.
                 III. STANDARD OF REVIEW
   [1] An appellate court reviews juvenile cases de novo on the
record and reaches its conclusions independently of the juve-
nile court’s findings.6
   [2] Statutory interpretation is a question of law, which an
appellate court resolves independently of the trial court.7
   [3] The review of constitutional standards is a question
of law and is reviewed independently of the trial court’s
determination.8

6
    In re Adoption of Micah H., 301 Neb. 437, 918 N.W.2d 834 (2018).
7
    See id.8
    State v. Montoya, ante p. 96, 933 N.W.2d 588 (2019).
                                    - 874 -
             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                        IN RE INTEREST OF ZOIE H.
                             Cite as 304 Neb. 868
                          IV. ANALYSIS
                      1. Motion to Quash
   [4] Neb. Rev. Stat. § 29-1808 (Reissue 2016) provides, “A
motion to quash may be made in all cases when there is a
defect apparent upon the face of the record, including defects
in the form of the indictment or in the manner in which an
offense is charged.” We have consistently held that the proper
procedure for raising a facial constitutional challenge to a
criminal statute is to file a motion to quash, and all defects not
raised in a motion to quash are taken as waived by a defendant
pleading the general issue.9
   But here, Zoie’s motion to quash did not challenge the con-
stitutionality of the criminal statute on which she was being
adjudicated. Instead, her motion to quash raised a facial consti-
tutional challenge to an entirely different statute, § 28-1204.05.
Zoie sought to quash the amended supplemental petition by
arguing that adjudication for acts that would constitute theft by
unlawful taking over $5,000 “would subject [her] to criminal
prosecution under an unconstitutional statute, Neb. Rev. Stat.
§ 28-1204.05.”
   [5] In the criminal context, a defendant is prohibited from
attempting to circumvent or avoid conviction under a particular
statute by asserting a constitutional challenge to another, col-
lateral statute which is irrelevant to the prosecution.10 We have
generally described this as a rule of standing and have applied
it to motions to quash in a criminal prosecution, reasoning
that a defendant has standing to challenge only those statutes
that are relevant to the prosecution.11 We conclude this rule is
equally applicable to motions to quash filed in juvenile adjudi-
cation proceedings.

 9
     State v. Hibler, 302 Neb. 325, 923 N.W.2d 398 (2019).
10
     State v. Harris, 284 Neb. 214, 817 N.W.2d 258 (2012); State v. Cushman,
     256 Neb. 335, 589 N.W.2d 533 (1999).
11
     See id.                                    - 875 -
             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                        IN RE INTEREST OF ZOIE H.
                             Cite as 304 Neb. 868
   Zoie was being adjudicated for acts which would constitute
felony theft by unlawful taking, and her motion to quash chal-
lenged the constitutionality of § 28-1204.05, a statute that was
collateral to the adjudication, and which would apply, if at all,
only after an adjudication. Zoie was attempting to avoid adju-
dication by challenging the constitutionality of a statute that
was irrelevant to the statutes under which the State was seek-
ing adjudication, and the juvenile court correctly overruled the
motion to quash.
   Given our resolution of this assignment of error, we do not
reach, in this appeal, any of Zoie’s constitutional challenges to
§ 28-1204.05.

                   2. Demand for Jury Trial
   In her second assignment of error, Zoie argues that if
§ 28-1204.05 is constitutional, it effectively transforms a juve-
nile adjudication for an act which would be a felony or a
misdemeanor act of domestic violence into a serious criminal
offense to which the right to a jury trial attaches.
   [6,7] When considering a criminal defendant’s right to a
jury trial, it is well established that the right does not extend
to those criminal offenses categorized as “‘petty,’” but attaches
only to those crimes that are considered “serious[]” offenses.12
This court has said that the right to a jury trial attaches when
the potential term of incarceration exceeds 6 months or if the
“‘additional statutory penalties, viewed in conjunction with the
maximum authorized period of incarceration, are so severe that
they clearly reflect a legislative determination that the offense
in question is a “serious” one.’”13
   Zoie urges us to apply the “serious offense” test to her
juvenile adjudication, and she asks us to find that the pas-
sage of § 28-1204.05 reflects a legislative determination that

12
     See Blanton v. North Las Vegas, 489 U.S. 538, 541, 109 S. Ct. 1289, 103
     L. Ed. 2d 550 (1989).
13
     Wiltshire, supra note 5, 241 Neb. at 820-21, 491 N.W.2d at 327.
                                     - 876 -
             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                         IN RE INTEREST OF ZOIE H.
                              Cite as 304 Neb. 868
juvenile adjudications for acts which would constitute a felony
are serious offenses that must be tried to a jury. Her argument
is premised on the fundamental assumption that § 28-1204.05
imposes a criminal penalty for juvenile adjudication. We
explore that assumption first and reject it. We then consider the
right to jury trial generally in juvenile court adjudications, and
we conclude the juvenile court correctly denied Zoie’s demand
for a jury trial.
                 (a) § 28-1204.05 Is Not Penalty
                     for Juvenile Adjudication
   To address Zoie’s argument that § 28-1204.05 transforms
juvenile adjudications into serious offenses that require a jury
trial, we first consider whether § 28-1204.05 can fairly be
characterized as punishing juvenile adjudication at all. The
answer to this question is key because if § 28-1204.05 is not
punishment imposed for her juvenile adjudication, then Zoie’s
argument that § 28-1204.05 transforms the adjudication into a
serious offense necessarily fails.
   [8] In the criminal context, we often analyze such ques-
tions using the “‘intent-effects’” test established by the U.S.
Supreme Court, “which requires an initial determination of
whether the Legislature intended the statute to be criminal
or civil [in nature].”14 But juvenile adjudications are civil,
not criminal, in nature. As we explained in In re Interest of
Laurance S.:15
      “We have long recognized that a juvenile court proceed-
      ing is not a prosecution for crime, but a special proceed-
      ing that serves as an ameliorative alternative to a criminal
      prosecution. . . . The purpose of our statutes relating
      to the handling of youthful offenders is the education,

14
     See State v. Payan, 277 Neb. 663, 670, 765 N.W.2d 192, 200 (2009)
     (applying test from Smith v. Doe, 538 U.S. 84, 123 S. Ct. 1140, 155 L. Ed.
     2d 164 (2003)).
15
     In re Interest of Laurance S., 274 Neb. 620, 624, 742 N.W.2d 484, 488     (2007).
                                       - 877 -
              Nebraska Supreme Court Advance Sheets
                       304 Nebraska Reports
                          IN RE INTEREST OF ZOIE H.
                               Cite as 304 Neb. 868
      treatment, and rehabilitation of the child, rather than
      retributive punishment. . . . The emphasis on training and
      rehabilitation, rather than punishment, is underscored by
      the declaration that juvenile proceedings are civil, rather
      than criminal, in nature.”
   A juvenile adjudication does not result in a conviction and
sentence; instead, when a juvenile is adjudicated for acts which
would constitute a felony, Neb. Rev. Stat. § 43-286 (Cum.
Supp. 2018) sets out the dispositional options available to the
juvenile court. And even when a disposition is similar to that
imposed as punishment for a crime, we have not found the
disposition to be punishment.16 Because juvenile adjudications
are civil rather than criminal in nature, it is difficult to envision
any circumstance under which a juvenile disposition could be
successfully challenged as punishment.
   Here, of course, the prohibition on possessing firearms
contained in § 28-1204.05 is not part of the juvenile code,
but, rather, it is contained within the statutory provisions
governing criminal offenses. To answer the question whether
§ 28-1204.05 is properly characterized as punishment for the
juvenile adjudication, we find guidance in our holding in State
v. Peters.17
   In that case, we held that a similar statute, Neb. Rev. Stat.
§ 28-1206 (Reissue 1995), which prohibits firearm posses-
sion by convicted felons, does not impose punishment for
the prior felony. We reasoned that although § 28-1206 pun-
ished the specific conduct of possessing a firearm after being
convicted of a felony, it did not increase the punishment for
the prior felony. In Peters, we recognized that one’s status

16
     See, e.g., In re Interest of Brandon M., 273 Neb. 47, 727 N.W.2d 230     (2007) (dispositional order of restitution in juvenile court rehabilitative in
     nature and not punishment); In re Interest of A.M.H., 233 Neb. 610, 447
     N.W.2d 40 (1989) (dispositional placement of juvenile in youth training
     center is not punishment, but, rather, is furnishing of protection, care, and
     training by State as substitution for parental authority).
17
     State v. Peters, 261 Neb. 416, 622 N.W.2d 918 (2001).
                                    - 878 -
             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                         IN RE INTEREST OF ZOIE H.
                              Cite as 304 Neb. 868
as a convicted felon made the statutory firearm prohibition
applicable, but we found the legal consequences for the past
criminal conduct remain unchanged. Stated differently, the
statutory prohibition on possessing firearms may be a collat-
eral consequence of a prior felony conviction, but it is not part
of the punishment imposed for that prior felony conviction.
We noted that the majority of jurisdictions agree that statutes
prohibiting felons from possessing firearms “are viewed not
as further punishment for the underlying felony or felonies,
but as a future prohibition on a felon’s conduct.”18
   [9] Given our holding in Peters that the prohibition on pos-
sessing firearms in § 28-1206 is not punishment for the prior
felony conviction, we likewise hold that the prohibition on
possessing firearms in § 28-1204.05 is not punishment imposed
for a prior juvenile adjudication. We therefore reject Zoie’s
argument that § 28-1204.05 transformed her juvenile adjudi-
cation into a serious offense and entitled her to a jury trial.
And as we explain below, we see no other legal basis on this
record to support Zoie’s demand for a jury trial in her juvenile
court adjudication.

               (b) No Constitutional Right to Jury
                    in Juvenile Adjudications
   The U.S. Supreme Court in McKeiver v. Pennsylvania19
held that a jury trial is not constitutionally required in a juve-
nile court’s adjudicative stage. The plurality opinion discussed
the Court’s earlier decisions in Kent v. United States,20 In re
Gault,21 and In re Winship 22 and reasoned generally that the

18
     Id. at 422, 622 N.W.2d at 924.
19
     McKeiver v. Pennsylvania, 403 U.S. 528, 91 S. Ct. 1976, 29 L. Ed. 2d 647     (1971).
20
     Kent v. United States, 383 U.S. 541, 86 S. Ct. 1045, 16 L. Ed. 2d 84     (1966).
21
     In re Gault, 387 U.S. 1, 87 S. Ct. 1428, 18 L. Ed. 2d 527 (1967).
22
     In re Winship, 397 U.S. 358, 90 S. Ct. 1068, 25 L. Ed. 2d 368 (1970).
                                      - 879 -
              Nebraska Supreme Court Advance Sheets
                       304 Nebraska Reports
                          IN RE INTEREST OF ZOIE H.
                               Cite as 304 Neb. 868
full spectrum of criminal constitutional rights afforded adults
has not been imposed on juvenile court proceedings. McKeiver
emphasized, however, that if a state decides to offer jury trials
in juvenile adjudications that would be its “privilege and not
its obligation.”23
   Post-McKeiver, some states have extended the right to jury
trial to juvenile adjudications under certain circumstances,
through either statutes or court decisions.24 But the majority
have not,25 including Nebraska.
   Nebraska’s preeminent case on the issue is the pre-­McKeiver
case of DeBacker v. Brainard.26 There, we considered a habeas
petition challenging the constitutionality of a recently enacted
statute requiring that juvenile court hearings “shall be con-
ducted by the judge without a jury in an informal manner,
applying the customary rules of evidence in use in civil trials
without a jury in the district courts.”27 The juvenile at issue had
been adjudicated delinquent for the act of forgery, a felony, and

23
     McKeiver, supra note 19, 402 U.S. at 547.
24
     See, e.g., Kan. Stat. Ann. § 38-2357 (Cum. Supp. 2018) (granting juveniles
     right to request jury trial); Mass. Gen. Laws Ann. ch. 119, § 55A (West
     2017) (requiring trial by jury unless waived); In re L.M., 286 Kan.
     460, 186 P.3d 164 (2008) (holding juvenile code lost its parens patriae
     character and concluding juveniles have right to jury trial under Kansas
     Constitution); RLR v. State, 487 P.2d 27 (Alaska 1971) (holding state
     constitution guarantees juvenile’s right to jury trial).
25
     See, e.g., Conn. Gen. Stat. Ann. § 54-76e (West 2009) (“trial shall be held
     by the court without a jury”); § 43-279; S.D. Codified Laws § 26-7A-30
     (2016) (lists rights of juveniles but does not include right to jury trial);
     In re A.K., 825 N.W.2d 46, 51 (Iowa 2013) (“[n]either statutory nor
     constitutional provisions guarantee juveniles the right to a jury trial”);
     State v. Burns, 205 S.W.3d 412, 416 (Tenn. 2006) (“legislature has
     determined that, while they are still within the juvenile court system, our
     juveniles are to be tried by judges, not juries”); Richard M. v. Superior
     Court, 4 Cal. 3d 370, 482 P.2d 664, 93 Cal. Rptr. 752 (1971) (jury trial is
     inapplicable in juvenile proceedings).
26
     DeBacker v. Brainard, 183 Neb. 461, 161 N.W.2d 508 (1968).
27
     Neb. Rev. Stat. § 43-206.03 (Reissue 1968).
                                      - 880 -
              Nebraska Supreme Court Advance Sheets
                       304 Nebraska Reports
                          IN RE INTEREST OF ZOIE H.
                               Cite as 304 Neb. 868
was placed at a boys’ training school. He filed a petition for
writ of habeas corpus, alleging § 43-206.03 was unconstitu-
tional because it denied him the right to a jury trial. The district
court rejected the constitutional claim and denied habeas relief.
On appeal, four members of this court opined that the new stat-
ute was unconstitutional because it denied juveniles the right to
a jury trial for acts that would be felonies if charged as an adult.
In large part, the majority read the U.S. Supreme Court’s In re
Gault decision to require such a result. Three judges, however,
found In re Gault “does not hold or even infer that a jury trial
is essential to due process in a delinquency case, even where
the supporting evidence points to criminal conduct on the part
of the juvenile.”28 Due to the absence of a supermajority under
Neb. Const. art. V, § 2, this court affirmed the dismissal of the
habeas petition.29
   [10] The following year, a majority of this court again held
that “a juvenile court proceeding, under the controlling statute
in the State of Nebraska, is a civil proceeding and under the
doctrine of parens patriae, the constitutional guarantees of a
jury trial and the incidents thereto are not applicable to a juve-
nile proceeding under our statute.”30
   Currently, § 43-279(1) provides in part: “The adjudication
portion of hearings shall be conducted before the court without
a jury, applying the customary rules of evidence in use in trials
without a jury.” Zoie does not directly challenge the constitu-
tionality of § 43-279(1), but instead argues that the enactment
of § 28-1204.05 “elevates felonies alleged in juvenile court to
‘serious criminal case’ status [so] the constitutional requirement
of a jury trial right supersedes the language in § 43-279(1).”31

28
     DeBacker, supra note 26, 183 Neb. at 477, 161 N.W.2d at 516.
29
     See, also, Laurie v. State, 108 Neb. 239, 188 N.W. 110 (1922) (juvenile
     petition does not charge crime and does not entitle juvenile to jury trial).
30
     McMullen v. Geiger, 184 Neb. 581, 584, 169 N.W.2d 431, 433 (1969).
     See, also, Laurie, supra note 29.
31
     Brief for appellant at 45.
                                   - 881 -
             Nebraska Supreme Court Advance Sheets
                      304 Nebraska Reports
                        IN RE INTEREST OF ZOIE H.
                             Cite as 304 Neb. 868
   Recognizing that juvenile adjudications are civil in nature,
and having rejected the premise that § 28-1204.05 imposes a
penalty for juvenile adjudication, we agree with the juvenile
court that § 43-279(1) requires a juvenile adjudication hearing
to be conducted without a jury. Zoie’s second assignment of
error lacks merit.
                3. Burden of Proof Regarding
                      Value of Property
   In her final assignment of error, Zoie argues that the evi-
dence presented at the adjudication hearing was insufficient
to prove the value of the Lexus. The amended supplemental
petition alleged Zoie committed acts which would constitute
the Class IIIA felony of attempted theft by unlawful taking,
$5,000 or more. Under § 28-518(8), value is an essential ele-
ment of the offense of theft which must be proved beyond a
reasonable doubt.
   The juvenile court found the State had met its burden of
proof and adjudicated Zoie under § 43-247(2) as a juvenile
who committed an act which would constitute a felony under
the laws of this State. On appeal, Zoie challenges only the suf-
ficiency of the evidence regarding the value of the Lexus, and
we limit our analysis accordingly. After a de novo review of
the record, we find the State met its burden of proving that the
Lexus had a value of $5,000 or more.
   [11] It has long been the rule in Nebraska that the owner of
chattel may testify as to its value in a criminal case.32 At the
adjudication hearing, Cuca testified that her Lexus had a value
“around $21,000.” The investigating officer testified, based on
his experience investigating car thefts and his research into
the value of Cuca’s Lexus, that it had a value of $15,529 if it
was in good condition. Moreover, he testified it would have
a value in excess of $10,000 even in poor condition. Zoie
did not object to this testimony and presented no evidence to
the contrary.

32
     See State v. Holland, 213 Neb. 170, 328 N.W.2d 205 (1982).
                            - 882 -
         Nebraska Supreme Court Advance Sheets
                  304 Nebraska Reports
                  IN RE INTEREST OF ZOIE H.
                       Cite as 304 Neb. 868
   On this record, we find the State presented sufficient evi-
dence to prove beyond a reasonable doubt that the value of
the Lexus was $5,000 or more. We therefore conclude that the
evidence was sufficient to adjudicate Zoie under § 43-247(2)
and that her third assignment of error has no merit.
                    V. CONCLUSION
  For the foregoing reasons, we affirm the juvenile court’s
order.
                                               Affirmed.
